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 8
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 9   Alejandro Medina and Cinthya Medina
10
                          UNITED STATES DISTRICT COURT
11
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
12

13   ALEJANDRO MEDINA and                            Case No. 5:19-cv-00883
     CINTHYA MEDINA;
14
                                                     PLAINTIFFS’ FIRST
15                 Plaintiffs,                       AMENDED COMPLAINT FOR:
16
            vs.                                          1. Violations of Real Estate
17                                                          Settlement Procedures Act,
     WELLS FARGO BANK, NATIONAL                             12 C.F.R. § 1024, et seq.
18
     ASSOCIATION; and DOES 1 through
19   10 inclusive;                                       2. Violations of the
                                                            Homeowner’s Bill of Rights,
20
                   Defendants.                              Cal. Civ. Code. § 2920, et
21                                                          seq.
22
                                                         3. Violations of the “UCL,”
23                                                          Cal. Bus. and Prof. Code §
24
                                                            17200, et seq.

25                                                       4. Negligence, California Civil
26
                                                            Code § 1714

27                                                   JURY TRIAL DEMANDED
28
                                                  1      Medina v. Wells Fargo Bank, N.A., et al.
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 1          PLAINTIFFS ALEJANDRO MEDINA (“Mr. Medina”) and CYNTHIA
 2   MEDINA (“Mrs. Medina”) and for their First Amended Complaint for Damages
 3
     allege as follows against defendants WELLS FARGO BANK, NATIONAL
 4

 5   ASSOCIATION (“Wells Fargo” or “Defendant”), and DOES 1 through 10,
 6
     inclusive:
 7
                               I. JURISDICTION AND VENUE
 8

 9          1.     This Court has subject matter pursuant to 28 U.S.C. §§ 1331 and 1337
10
     based on Mr. and Mrs. Medina’s claims under the Real Estate Settlement Procedures
11
     Act (“RESPA”), 12 U.S.C. § 2614.
12

13          2.     This Court, alternatively, has diversity jurisdiction pursuant to 28
14
     U.S.C. § 1332, as the matter in controversy exceeds $75,000.00 and the matter is
15
     between citizens of different states.
16

17          3.      This Court has supplemental jurisdiction to hear and determine Mr. and
18
     Mrs. Medina’s state law claims pursuant to 28 U.S.C. § 1367 because those claims
19
     are related to Mr. and Mrs. Medina’s federal law claims and arise out of a common
20

21   nucleus of related facts. Mr. and Mrs. Medina’s state law claims are related to Mr.
22
     and Mrs. Medina’s federal law claims such that those claims form part of the same
23
     case or controversy under Article III of the United States Constitution.
24

25          4.      This court has authority to issue injunctive relief by virtue of Federal
26

27

28
                                                  2      Medina v. Wells Fargo Bank, N.A., et al.
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 1   Rules of Civil Procedure Rule 65(a); further this court has authority to issue
 2   declaratory judgment by virtue of 28 U.S.C. § 2201.
 3
            5.      Personal jurisdiction over Defendant is proper pursuant to Fed. R.
 4

 5   Civ. P. 4(k). Furthermore, the Court has personal jurisdiction over Defendant as
 6
     Defendant conducts business within this district and has purposefully availed itself
 7
     of the laws and markets of the state of California and this district.
 8

 9          6.      Venue is proper before this court pursuant to 28 U.S.C. § 1391(b)(2)
10
     since all incidents, events, and occurrences and omissions giving rise to this action
11
     occurred within the Central District of California. The Eastern Division is the proper
12

13   division in that the real property that is the subject of this action is located in
14
     Riverside County, California.
15
                              II. PRELIMINARY STATEMENT
16

17          7.      This is an action for actual and statutory damages filed by Plaintiffs,
18
     ALEJANDRO and CINTHYA MEDINA arising out of their repeated attempts to
19
     save their family home from foreclosure, only to suffer the irreparable loss of their
20

21   home after months of unconscionable treatment at the hands of the Defendant,
22
     WELLS FARGO BANK, NATIONAL ASSOCIATION. Defendant serially and
23
     alternatively provided misinformation, apathy, and inaction in response to Mr. and
24

25   Mrs. Medina’s repeated attempts to find a foreclosure alternative that would enable
26
     them to keep their home. Defendant refused to postpone foreclosure by as little as
27

28
                                                  3      Medina v. Wells Fargo Bank, N.A., et al.
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 1   a few weeks in order to complete their review of Mr. and Mrs. Medina’s loss
 2   mitigation application for a foreclosure alternative (“application”) and to allow Mr.
 3
     and Mrs. Medina the precious time they needed to obtain a loan from CalHFA.
 4

 5   Instead, Defendant proceeded to unlawfully conduct a foreclosure sale on Mr. and
 6
     Mrs. Medina’s home while their application was under review. Mrs. Medina
 7
     suffered extreme mental anguish and emotional distress and was hospitalized for a
 8

 9   mental breakdown as a direct result of Defendant’s unlawful and unconscionable
10
     actions.
11
            8.     Mr. and Mrs. Medina bring this action for actual and statutory
12

13   damages due to Defendant’s violations of the Real Estate Settlement Procedures Act
14
     (“RESPA”), 12 U.S.C. §2601 et seq., which was passed to eliminate abusive
15
     practices in the servicing of real estate loans. Mr. and Mrs. Medina also bring this
16

17   action for actual and statutory damages due to Defendant’s violation of the
18
     Homeowner’s Bill of Rights, (“HBOR”), A.B. 278, Chapter 86, 2011-2012,
19
     California Civil Code §§ 2923.4, 2923.5 and 2924.15, which was passed to guarantee
20

21   basic fairness and transparency for homeowners in the foreclosure process. Both
22
     RESPA and HBOR prevent “dual tracking,” which means that the foreclosure
23
     process is to be essentially paused until a complete application has been fully
24

25   reviewed.     However, Wells Fargo unlawfully engaged in dual tracking, and
26
     proceeded with foreclosure even while Mr. and Mrs. Medina’s complete application
27

28
                                                  4      Medina v. Wells Fargo Bank, N.A., et al.
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 1   was under review. Defendant further violated RESPA by failing to respond to Mr.
 2   and Mrs. Medina’s Requests for Information and Notice of Errors letters.
 3
             9.    Wells Fargo’s actions also violated California’s Unfair Competition
 4

 5   Law, Cal. Bus. and Prof. Code § 17200 et seq. (the “UCL”), which prohibits unlawful
 6
     unfair, and/or fraudulent business acts and/or practices.
 7
             10.    Further, Defendant was negligent in the handling of Mr. and Mrs.
 8

 9   Medina’s application. Defendant unreasonably delayed in the processing of their
10
     complete application and refused to postpone the foreclosure sale of her home by as
11
     little as a few weeks in order to complete the review of their application, and in order
12

13   to allow Mr. and Mrs. Medina the time to finalize a loan from CalHFA. Thus, this
14
     is also an action for negligence in the servicing of Mr. and Mrs. Medina’s mortgage
15
     loan.
16

17                                     III. THE PARTIES
18
             11.      Plaintiffs, Alejandro and Cinthya Medina, are, and were at all times
19
     mentioned herein over the age of 18 and are residents of Los Angeles County,
20

21   California. Mr. and Mrs. Medina are domiciled in and are citizens of California. Mr.
22
     and Mrs. Medina’s home was located in Temecula, CA (the “Property”) and was, at
23
     all relevant times, owner-occupied. The Property was Mr. and Mrs. Medina’s
24

25   principal and family residence. The mortgage loan that was secured by Mr. and Mrs.
26
     Medina’s Property (the “mortgage loan”) was a first-lien, federally related mortgage
27

28
                                                  5      Medina v. Wells Fargo Bank, N.A., et al.
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 1   loan that was secured by residential property, upon which there was a structure for
 2   occupancy of from one to four families for which the loan was made by any lender
 3
     that is regulated by an agency of the Federal Government or is made by a creditor
 4

 5   that makes or invests in residential real estate loan aggregating more than
 6
     $1,000,000.00 per year.
 7
            12.      Defendant WELLS FARGO BANK, NATIONAL ASSOCIATION
 8

 9   (hereinafter “Wells Fargo” or “Defendant”) is a Delaware corporation, with its
10
     headquarters at 101 N. Phillips Avenue, Sioux Falls, South Dakota, 57104, and at all
11
     times material to this action, Defendant Wells Fargo regularly transacts and conducts
12

13   significant business in the State of California. Defendant is the former holders,
14
     assignees and/or servicers of a mortgage on Mr. and Mrs. Medina’s home.
15
            13.    The true names and capacities of DOES 1 through 10 are currently
16

17   unknown to Mr. and Mrs. Medina who allege that DOES 1 through 10 are responsible
18
     in some manner for the injuries sustained by Mr. and Mrs. Medina as hereinafter
19
     alleged. Mr. and Mrs. Medina request leave to file amendments to this complaint
20

21   alleging the true names and capacities of DOES 1 through 10 when the same have
22
     been ascertained.
23
            14.     Mr. and Mrs. Medina are informed and believe, and on that basis allege,
24

25   that at all times herein mentioned each of the Defendants was an agent, servant,
26
     employee, and/or joint venture of each of the remaining Defendants, and was at all
27

28
                                                  6      Medina v. Wells Fargo Bank, N.A., et al.
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 1   times acting within the course and scope of such agency, service, employment,
 2   and/or joint venture, and each Defendant has ratified, approved, and authorized the
 3
     acts of each of the remaining Defendants with full knowledge of said facts.
 4

 5          15.     Defendants, and each of them, aided and abetted, encouraged, and
 6
     rendered substantial assistance to the other Defendants in breaching their obligations
 7
     to Mr. and Mrs. Medina, as alleged herein. In taking action, as alleged herein, to aid
 8

 9   and abet and substantially assist the commissions of these wrongful acts and other
10
     wrongdoings complained of, each of the Defendants acted with an awareness of
11
     its/his/her primary wrongdoing and realized that its/his/her conduct would
12

13   substantially assist the accomplishment of the wrongful conduct, wrongful goals, and
14
     wrongdoing.
15
            16.     There is a unity of interest between Defendants, and each acts as the
16

17   alter ego of the other.
18
            17.     The defendants identified in paragraphs 12 through 16 above shall
19
     hereinafter be collectively referred to as “Defendants.”
20

21                                        IV. STANDING
22
            18.    Standing is proper under Article III of the Constitution of the United
23
     States of America because Mr. and Mrs. Medina’s claims state:
24

25                 a. A valid injury in fact;
26
                   b. Which is traceable to the conduct of Defendants;
27

28
                                                  7      Medina v. Wells Fargo Bank, N.A., et al.
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 1                     c. And is likely to be redressed by a favorable judicial decision.
 2          See Spokeo, Inc. v. Robins 578 U.S. ____(2016) at 6, and Lujan v. Defenders
 3
     of Wildlife, 504 U.S. 555 at 560.
 4

 5          19.        In order to meet the standard laid out in Spokeo and Lujan, Mr. and
 6
     Mrs. Medina must clearly allege facts demonstrating all three prongs above.
 7
                  A.      The “Injury in Fact” Prong
 8

 9          20.        Mr. and Mrs. Medina’s injury in fact must be both “concrete” and
10
     “particularized” in order to satisfy the requirements of Article III of the Constitution,
11
     as laid out in Spokeo (Id.).
12

13          21.        For an injury to be “concrete” it must be a de facto injury, meaning
14
     that it actually exists. In the present case, a wrongful foreclosure sale was conducted
15
     against Mr. and Mrs. Medina by Defendants and Defendants pursued an unlawful
16

17   foreclosure sale while a complete application was under review. Such an unlawful
18
     foreclosure sale was extremely emotionally distressing and stressful, and defending
19
     against it had been at great expense and cost to Mr. and Mrs. Medina. All these
20

21   injuries are concrete and de facto.
22
            22.        For an injury to be “particularized” means that the injury must “affect
23
     the Plaintiff in a personal and individual way.” Spokeo, Inc. v. Robins, 578 U.S.
24

25   ____(2016) at *7. Mr. and Mrs. Medina’s home and peace of mind were threatened
26

27

28
                                                  8      Medina v. Wells Fargo Bank, N.A., et al.
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 1   by Defendants’ wrongful foreclosure sale while their complete application was under
 2   review. All these injuries are particularized and specific to Mr. and Mrs. Medina.
 3
                  B.     The “Traceable to the Conduct of Defendant” Prong
 4

 5          23.        The second prong required to establish standing at the pleadings phase
 6
     is that Mr. and Mrs. Medina must allege facts to show that Mr. and Mrs. Medina’s
 7
     injury is traceable to the conduct of Defendants.
 8

 9          24.        In the instant case, this prong is met simply by the fact that the untimely
10
     review of Mr. and Mrs. Medina’s application and unlawful and wrongful foreclosure
11
     sale had been initiated by Defendants directly, or by their agents at their direction
12

13   and control.
14
                  C.      The “Injury is Likely to be Redressed by a Favorable Judicial
15
                          Opinion” Prong
16

17          25.        The third prong to establish standing at the pleadings phase requires
18
     Mr. and Mrs. Medina to allege facts to show that the injury is likely to be redressed
19
     by a favorable judicial opinion.
20

21          26.        In the present case, Mr. and Mrs. Medina’s Prayers for Relief include a
22
     request for damages for each violation of RESPA, as authorized by statute in 12
23
     U.S.C. § 2605(f), and for each violation of HBOR, as authorized by statute in Cal.
24

25   Civ. Code § 2924.12. The statutory damages were set by Congress and the State of
26

27

28
                                                  9      Medina v. Wells Fargo Bank, N.A., et al.
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 1   California and specifically redress the financial damages suffered by Mr. and Mrs.
 2   Medina due to Defendants’ unlawful conduct.
 3
            27.     Mr. and Mrs. Medina’s Prayers for Relief also include a request for
 4

 5   actual damages that Mr. and Mrs. Medina have suffered due to the unlawful and
 6
     wrongful conduct of Defendants, and specifically redress the emotional distress,
 7
     physical distress, and expenses and costs Mr. and Mrs. Medina have suffered as a
 8

 9   direct result of Defendants’ unlawful foreclosure action.
10
            28.    The award of monetary damages redresses the injuries of the past, the
11
     present, and prevent further injury in the future.
12

13          29.    Because all standing requirements of Article III of the U.S.
14
     Constitution have been met, as laid out in Spokeo, Inc. v. Robins, 578 U.S. ___
15
     (2016), Mr. and Mrs. Medina have standing to sue Defendants on the stated claims.
16

17                                V. SUMMARY OF CLAIMS
18
                   A.     RESPA
19
            30.    In January 2013, the Consumer Financial Protection Bureau
20

21   (“CFPB”) issued a number of final rules concerning mortgage markets in the United
22
     States, pursuant to the Dodd-Frank Act, Public Law No. 111-203, 124 Stat. 1376
23
     (2010).
24

25          31.     Specifically, on January 17, 2013, the CFPB issued the Real Estate
26

27

28
                                                  10      Medina v. Wells Fargo Bank, N.A., et al.
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 1   Settlement Procedures Act (“RESPA”) (Regulation X) Mortgage Servicing Final
 2   Rules, 78 F.R. 10695 (February 14, 2013), and TILA (Regulation Z) Mortgage
 3
     Servicing Final Rules, 78 F.R. 10901 (February 14, 2013), which became effective
 4

 5   on January 10, 2014.
 6
               32. The CFPB published a preamble to the rules where it provided an
 7
     overview of the mortgage servicing market and the market failures the new rules
 8

 9   were intended to address. See, 2012 RESPA Servicing Proposal, 77 FR 57200 (Sept.
10
     17 2012).1
11
               33. Section 1463(a) of the Dodd-Frank Act adds section 6(k)(1)(E) to
12

13   RESPA, which provides that a servicer of a federally related mortgage loan must
14
     “comply with any other obligation found by the [Bureau], by regulation, to be
15
     appropriate to carry out the consumer protection purposes of this Act.”                                This
16

17   provision provides the Bureau authority to establish prohibitions on servicers of
18
     federally related mortgage loans appropriate to carry out the consumer protection
19
     purposes of RESPA. As discussed below, in light of the systemic problems in the
20

21   mortgage servicing industry discussed above, the Bureau is exercising this authority
22
     in rulemaking to implement protections for borrowers with respect to mortgage
23
     servicing. Id. at 26.
24

25             34. Mortgage servicing is performed by banks, thrifts, credit unions, and
26

27   1
       Relevant portions are included here, but the entire preamble is available at:
     http://files.consumerfinance.gov/f/201301_cfpb_final-rule_servicing-tila-preamble.pdf
28
                                                               11        Medina v. Wells Fargo Bank, N.A., et al.
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 1   non-banks under a variety of business models. In some cases, creditors service
 2   mortgage loans that they originate or purchase and hold in portfolio. Other creditors
 3
     sell the ownership of the underlying mortgage loan, but retain the mortgage servicing
 4

 5   rights in order to retain the relationship with the borrower, as well as the servicing
 6
     fee and other ancillary income. In still other cases, servicers have no role at all in
 7
     origination or loan ownership, but rather purchase mortgage servicing rights on
 8

 9   securitized loans or are hired to service a portfolio lender’s loans. Id. at 14.
10
             35. These different servicing structures can create difficulties for
11
     borrowers if a servicer makes mistakes, fails to invest sufficient resources in its
12

13   servicing operations, or avoids opportunities to work with borrowers for the mutual
14
     benefit of both borrowers and owners or assignees of mortgage loans. Although the
15
     mortgage servicing industry has numerous participants, the industry is highly
16

17   concentrated, with the five largest servicers servicing approximately 53 percent of
18
     outstanding mortgage loans in this country. Id. at 14.
19
             36. Compensation structures vary somewhat for loans held in portfolio
20

21   and securitized loans, but have tended to make pure mortgage servicing (where the
22
     servicer has no role in origination) a high-volume, low-margin business. Id. at 15.
23
     The primary exception being loans deemed by servicers to be in default. Servicing
24

25   of defaulted loans provides servicers with substantially greater fee income.
26
             37. Under this business model, servicers act primarily as payment
27

28
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 1   collectors and processors, and will have limited incentives to provide other customer
 2   service. Servicers are generally not subject to market discipline from consumers
 3
     because consumers have little opportunity to switch servicers. Rather, servicers
 4

 5   compete to obtain business from the owners of loans—investors, assignees, and
 6
     creditors—and thus competitive pressures tend to drive servicers to lower the price
 7
     of servicing and scale their investment in providing service to consumers
 8

 9   accordingly. Id. at 16.
10
             38. These attributes of the servicing market created problems for certain
11
     borrowers even prior to the financial crisis. For example, borrowers experienced
12

13   problems with mortgage servicers even during regional mortgage market downturns
14
     that preceded the financial crisis. There is evidence that borrowers were subjected
15
     to improper fees that servicers had no reasonable basis to impose, improper force-
16

17   placed insurance practices, and improper foreclosure and bankruptcy practices. Id. at
18
     17.
19
             39. [T]he Government Accountability Office (GAO) has found pervasive
20

21   problems in broad segments of the mortgage servicing industry impacting delinquent
22
     borrowers, such as servicers who have misled, or failed to communicate with,
23
     borrowers, lost or mishandled borrower-provided documents supporting loan
24

25   modification requests, and generally provided inadequate service to delinquent
26
     borrowers. It has been recognized in Inspector General reports, and the Bureau has
27

28
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 1   learned from outreach with mortgage investors, that servicers may be acting to
 2   maximize their self-interests in the handling of delinquent borrowers, rather than the
 3
     interests of owners or assignees of mortgage loans. Id. at 19.
 4

 5          40.     Here, the mortgage loan that was serviced by Defendant Wells Fargo
 6
     was secured by residential property (the “mortgage loan”) and is a "federally related
 7
     mortgage loan" as defined by 12 C.F.R. § 1024.2(b).
 8

 9          41.     Thus, Defendants are subject to these Regulations X and Z
10
     and do not qualify for an exception for "small servicers”, as defined in 12 C.F.R. §
11
     1026.41(e)(4), nor any exemption for a “qualified lender”, as defined in 12 C.F.R. §
12

13   617.700.
14
            42.     Mr. and Mrs. Medina assert claims for relief against Defendants for
15
     violations of the specific rules set forth in Regulations X, and the FDCPA, as set
16

17   forth infra.
18
            43.     Mr. and Mrs. Medina assert a private right of action under RESPA
19
     pursuant to 12 U.S.C. §2605(f), and any such action provides for remedies including
20

21   actual damages, costs, statutory damages, and attorneys’ fees.
22
                    B.    HBOR
23
            44.     The Homeowner's Bill of Rights (Cal. Civ. Code, §§ 2920.5, 2923.4–
24

25   .7, 2924, 2924.9–.12, 2924.15, 2924.17–.20) (“HBOR”), effective January 1, 2013,
26
     was enacted “to ensure that, as part of the nonjudicial foreclosure process,
27

28
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 1   borrowers are considered for, and have a meaningful opportunity to obtain,
 2   available loss mitigation options, if any, offered by or through the borrower's
 3
     mortgage servicer, such as loan modifications or other alternatives to foreclosure.”
 4

 5   (Cal. Civ. Code § 2923.4.)
 6
            45.     One of the most important aspect of HBOR is that it prohibits “dual
 7
     tracking,” which occurs when a bank forecloses on a loan while negotiating with
 8

 9   the borrower to avoid foreclosure. (Cal. Civ. Code § 2923.6.) HBOR provides for
10
     injunctive relief for statutory violations that occur prior to foreclosure (Cal. Civ.
11
     Code § 2924.12, subd. (a)), and monetary damages when the borrower seeks relief
12

13   for violations after the foreclosure sale has occurred. (Cal. Civ. Code § 2924.12,
14
     subd. (b).).
15
            46.     Under HBOR, both large and small servicers are prevented from
16

17   moving forward with foreclosures—through recording a notice of default, notice of
18
     trustee sale, or by conducting the sale itself—while a complete, first lien loss
19
     mitigation application is pending. Basically, the servicer must provide a written
20

21   denial and wait for an appeal period to expire before moving forward with
22
     foreclosure.
23
            47.     The mortgage loan that was secured by Mr. and Mrs. Medina’s home
24

25   (the “mortgage loan”) was a first lien on an owner-occupied, one-to-four unit
26
     property, as defined by Cal. Civ. Code § 2924.15(a). The home was Mr. and Mrs.
27

28
                                                  15      Medina v. Wells Fargo Bank, N.A., et al.
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 1   Medina’s principal residence. Defendant Wells Fargo conducts more than 175
 2   foreclosures on residential properties with four dwelling units or less, thus Wells
 3
     Fargo is not a “small” servicer as defined by HBOR. Thus, Defendants are subject
 4

 5   to the provisions of the Homeowners Bill of Rights.
 6
              48.   Mr. and Mrs. Medina assert claims for relief against Defendants for
 7
     violations of the specific rules set forth in the Homeowners Bill of Rights, as set forth
 8

 9   infra.
10
              49.   Mr. and Mrs. Medina assert a private right of action under HBOR
11
     pursuant to Cal. Civ. Code § 2924.12, and any such action provides for remedies
12

13   including actual damages, costs, statutory damages, and attorneys’ fees.
14
         VI. BACKGROUND -- CFPB AND OTHER LITIGATION AGAINST
15
                                DEFENDANT WELLS FARGO
16

17            50.   The Consumer Financial Protection (“CFPB”) is well aware that
18
     Defendant Wells Fargo has years of widespread errors and illegal conduct when it
19
     comes to the servicing mortgage loans. Furthermore, Wells Fargo has been the
20

21   subject of numerous lawsuits directly relating to the reckless and improper handling
22
     of loss mitigation applications.
23
              51.   In 2018, the CFPB announced a settlement with Wells Fargo Bank,
24

25   N.A. in a coordinated action with the Office of the Comptroller of the Currency
26
     (OCC). As described in the consent order, the Bureau found that Wells Fargo
27

28
                                                  16      Medina v. Wells Fargo Bank, N.A., et al.
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 1   violated the Consumer Financial Protection Act (CFPA) in the way it charged certain
 2   borrowers for mortgage interest rate-lock extensions. The CFPB assessed a $1 billion
 3
     penalty against the bank and credited the $500 million penalty collected by the OCC
 4

 5   toward the satisfaction of its fine.
 6
            52.     In 2015, the Consumer Financial Protection Bureau (CFPB) and the
 7
     Maryland Attorney General took action against Wells Fargo and JPMorgan Chase
 8

 9   for an illegal marketing-services-kickback scheme they participated in with Genuine
10
     Title, a now-defunct title company. The consent orders, filed in federal court,
11
     required $24 million in civil penalties from Wells Fargo, $600,000 in civil penalties
12

13   from JPMorgan Chase, and $11.1 million in redress to consumers whose loans were
14
     involved in this scheme.
15
            53.     Furthermore, in 2018, in the matter of Alicia Hernandez et al. v. Wells
16

17   Fargo Bank, N.A., in the Northern District of California, with case no. 3:2018-cv-
18
     07354, a class-action complaint was filed against Defendant Wells Fargo alleging
19
     that Wells Fargo wrongfully denied federally-required mortgage modifications to
20

21   borrowers in trouble. Wells Fargo has acknowledged that 870 borrowers were
22
     wrongfully denied a modification, and that more than 500 borrowers lost their homes
23
     as a result, but Wells Fargo blames the issue on a series of calculation errors,
24

25   according to the lawsuit. The matter is still being litigated.
26

27

28
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 1          54.    On April 12, 2019 in the matter of Justo Reyes, et al. v. Wells Fargo
 2   Bank, N.A. in the United States Bankruptcy Court for the Southern District of New
 3
     York, with Case No. 19-ap-08249-rdd, a class action complaint was filed against
 4

 5   Defendant Wells Fargo alleging that Wells Fargo wrongfully denied federally-
 6
     required mortgage modifications and/or private-label approved mortgage
 7
     modifications after Borrowers completed Trial Payment Plans and were wrongfully
 8

 9   denied a permanent modification based on Wells Fargo’s errors in title searched.
10
     Wells Fargo has acknowledged the errors by sending letters to affected homeowners
11
     along with checks in the amount of $300.00. Wells Fargo has not acknowledged the
12

13   amount of affected borrowers. The matter is still being litigated.
14
            55.     In 2014, in the matter of Garcia et al. v. Wells Fargo Bank, N.A., in
15
     the Central District of California, with case no. 8:14-cv-00558, a class action
16

17   complaint was filed against Defendant Wells Fargo for violations of the
18
     Homeowners Bill of Rights, alleging that Wells Fargo practiced “dual tracking” by
19
     pursuing foreclosures while simultaneously processing loan modifications. The
20

21   matter was settled.
22
            56.     As outlined above, it is clear that Defendant Wells Fargo has
23
     systemically and routinely violated the mortgage servicing and debt collection rules
24

25   and regulations, specifically as it relates to mortgage servicing and dual tracking.
26
     Wells Fargo has exhibited a pattern and practice of systemic misconduct in its
27

28
                                                  18      Medina v. Wells Fargo Bank, N.A., et al.
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 1   mortgage operations. Mr. and Mrs. Medina are among those who are directly
 2   affected by Wells Fargo’s misconduct, in that they lost their home due to Wells
 3
     Fargo’s inability to follow the mortgage servicing rules and regulations.
 4

 5          VII. PATTERN AND PRACTICE OF RESPA VIOLATIONS BY
 6
                                DEFENDANT WELLS FARGO
 7
            57.    It is clear that Defendant Wells Fargo has engaged in a pattern and
 8

 9   practice of mistreating mortgage loan borrowers and violating provisions of RESPA
10
     and the regulations promulgated thereunder at Regulation X. This pattern and
11
     practice is evidenced in this case by at least six (6) distinct violations as alleged
12

13   herein.
14
            58.    At the time of the filing of this Complaint, Defendant Wells Fargo has
15
     had at least 67,979 consumer complaints lodged against it nationally, specifically
16

17   concerning the issues identified on the CFPB’s consumer complaint database, at least
18
     36,366 such complaints identified on the CFPB’s consumer complaint database as
19
     “mortgage,” and at least 17,368 such complaints identified as “loan modification,
20

21   collection, foreclosure.” Each such complaint is filed and cataloged in the CFPB’s
22
     publicly      accessible      online       database,      which       is     located       at:
23
     https://www.consumerfinance.gov/data-research/consumer-
24

25   complaints/search/?from=0&searchField=all&searchText=wells%20fargo&size=25
26
     &sort=created_date_desc
27

28
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 1                            VIII. FACTUAL ALLEGATIONS
 2                 A.     Mr. and Mrs. Medina’s Experience with Wells Fargo
 3
            59.    Mr. and Mrs. Medina’s experience included many of the mortgage
 4

 5   servicing failures identified in both the CFPB and HBOR preambles.
 6
            60.    Mr. and Mrs. Medina are husband and wife who purchased the Property
 7
     located in Temecula, CA in or about July 2005 for approximately $455,000.00 with
 8

 9   two mortgage loans: a first deed of trust for approximately $364,000.00 and a second
10
     deed of trust for approximately $45,500.00. Defendant Wells Fargo was the lender
11
     and the servicer of both of Mr. and Mrs. Medina’s mortgage loans.
12

13          61.     Around 2011, Mr. and Mrs. Medina struggled to pay their mortgage,
14
     and in August of 2011, Mr. and Mrs. Medina obtained a temporary loan modification
15
     for the period of time beginning September 1, 2011 through July 1, 2015. The arrears
16

17   of $14,517.80 were deferred as a secondary principle balance. During the time of
18
     the loan modification, payments were $1,777.55.              Then starting July 1, 2015
19
     payments were to increase to around $2,696.12.
20

21          62.     Starting around 2014, Mr. and Mrs. Medina experienced personal and
22
     financial hardships that caused them to fall behind on their payments and to default
23
     on their mortgage loans. Mrs. Medina’s mother became terminally ill and required
24

25   care. Further, Mrs. Medina became unemployed due to an injury to her right
26
     shoulder that she sustained at her job, and her income was significantly reduced.
27

28
                                                  20      Medina v. Wells Fargo Bank, N.A., et al.
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 1          63.    In or about July 2015, Mr. and Mrs. Medina obtained a loan through a
 2   government program with CalHFA Mortgage Assistance Corporation (the “Keep
 3
     Your Home California Program.”). Mr. and Mrs. Medina used the loan to pay all of
 4

 5   their arrears and bring the loan current. The terms of the loan were that the loan
 6
     would be 100% forgiven on the 5th Anniversary of the Note.
 7
            64.    Despite their best efforts, starting in early 2017, Mr. and Mrs. Medina
 8

 9   again fell behind on their mortgage loans, and fell into default. Mr. Medina became
10
     unemployed in about April 2017, and Mrs. Medina was still unable to work due to
11
     her injury. Now that Mr. Medina was unemployed, they suddenly were unable to
12

13   pay their mortgage loans. On top of which, the mortgage payment had increased to
14
     almost $1,000.00 more (from $1,777.55 to $2,696.12) since the temporary loan
15
     modification had terminated in July 2015.
16

17          65.     Around June 2017, Wells Fargo initiated foreclosure proceedings
18
     against Mr. and Mrs. Medina’s home and Wells Fargo recorded a Notice of Default.
19
            66.     On or about August 17, 2017, Mrs. Medina contacted Wells
20

21   Fargo by telephone to see if Wells Fargo could offer some form of assistance as she
22
     had received in the past. In a letter dated August 17, 2017, the Home Preservation
23
     Department for Wells Fargo Home Mortgage confirmed the telephone call and that
24

25   they were unable to reach a “mutual agreement,” and requested that Mrs. Medina
26
     contact Wells Fargo to discuss options to assist Mr. and Mrs. Medina. However, the
27

28
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 1   letter did not designate a person for Mr. and Mrs. Medina to contact, or a direct
 2   telephone number to a person at Wells Fargo for Mr. and Mrs. Medina to call.
 3
            67.      On or about September 19, 2017, Mrs. Medina again contacted
 4

 5   Wells Fargo by telephone for assistance. In a letter dated September 19, 2017, the
 6
     Home Preservation Department for Wells Fargo Home Mortgage confirmed the
 7
     telephone call and they were unable to reach a “mutual agreement,” and requested
 8

 9   that Mrs. Medina contact Wells Fargo to discuss options. However, the letter did not
10
     designate a person for Mr. and Mrs. Medina to contact, or a direct telephone number
11
     to a person at Wells Fargo for Mr. and Mrs. Medina to call.
12

13          68.      Due to Mr. and Mrs. Medina’s inability to obtain assistance through
14
     Wells Fargo, a Notice of Trustee Sale was recorded on or about October 2, 2017
15
     setting a sale date of Mr. and Mrs. Medina’s home for November 2, 2017.
16

17          69.      Mrs. Medina again contacted Wells Fargo, and Wells Fargo agreed to
18
     send to Mr. and Mrs. Medina an application for a loss mitigation alternative. Around
19
     this same time, Wells Fargo postponed the sale date of Mr. and Mrs. Medina’s home
20

21   indefinitely.
22
            70.      It was not until November 2017 that Wells Fargo sent a loss
23
     mitigation application to Mr. and Mrs. Medina. In a letter dated November 7, 2017,
24

25   Andrew De Leon, Home Preservation Specialist for Wells Fargo was designated at
26
     Mr. and Mrs. Medina’s point of contact. In the letter, Andrew De Leon requested
27

28
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 1   that Mr. and Mrs. Medina complete the forms and submit the required documents by
 2   December 7, 2017 in order to be considered for a loan modification, or other loss
 3
     mitigation options. Mr. and Mrs. Medina immediately submitted a complete loss
 4

 5   mitigation application for a foreclosure prevention alternative (“application”) and all
 6
     required documents to Wells Fargo with the hopes that Wells Fargo would grant
 7
     them another temporary modification, as they had done in the past.
 8

 9          71.     Wells Fargo did not send Mr. and Mrs. Medina written notification of
10
     whether their application was complete or incomplete. Wells Fargo did not provide
11
     a determination on Mr. and Mrs. Medina’s application until January 22, 2018. In a
12

13   letter dated January 22, 2018, from Wells Fargo Home Mortgage, Wells Fargo did
14
     not approve Mr. and Mrs. Medina for a temporary loan modification or other option
15
     that would enable Mr. and Mrs. Medina to keep her home; rather, the letter stated
16

17   that Wells Fargo approved Mr. and Mrs. Medina for a short sale.
18
            72.    In a letter dated January 24, 2018, Andrew J. Deleon, Home
19
     Preservation Specialist stated that, based on the review of documents provided, Wells
20

21   Fargo was unable to create an affordable mortgage payment that met the
22
     requirements of their temporary loan modification program, and that this decision
23
     was reached by reviewing Mr. and Mrs. Medina’s monthly gross income, which was
24

25   calculated at the time as $2,807.68.       Wells Fargo’s letter stated that Mr. and Mrs.
26
     Medina can appeal the decision by March 1, 2018.
27

28
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 1          73.    Wells Fargo closed their review of Mr. and Mrs. Medina’s application
 2   on or about March 15, 2018 and proceeded with foreclosure proceedings. A Notice
 3
     of Trustee Sale date was set to sell Mr. and Mrs. Medina’s home on May 10, 2018.
 4

 5          74.     Shortly thereafter, in about March 2018, Mr. Medina obtained full-time
 6
     employment and their financial situation substantially and materially changed. Mrs.
 7
     Medina called Wells Fargo to see what her options were now that there was a material
 8

 9   change in financial circumstances since the gross household income had doubled. In
10
     this telephone call, Wells Fargo told Mrs. Medina that if Mr. and Mrs. Medina could
11
     show a monthly income closer to $5,500 a month, they would qualify for a temporary
12

13   or permanent loan modification. Wells Fargo told Mr. and Mrs. Medina to wait two
14
     (2) months before submitting a new application as Wells Fargo stated they needed
15
     several paystubs to verify the new monthly income.
16

17          75.    Mr. and Mrs. Medina waited the two months, and on or about May 1,
18
     2018, Ms. Medina faxed the new complete application directly to Andrew De Leon,
19
     in Home Preservation at Wells Fargo. The new application detailed their material
20

21   change in financial circumstances with documentation to substantiate the increase in
22
     income, which was now around $5,500.00. Mr. and Mrs. Medina were hopeful that
23
     now they would qualify for a foreclosure alternative, such as for a first lien
24

25   modification, that would enable them to keep their home since Wells Fargo had told
26
     Mrs. Medina that a monthly income of $5,500.00 would be enough for Mr. and Mrs.
27

28
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 1   Medina to qualify for a temporary or permanent loan modification. Mr. and Mrs.
 2   Medina supplied Well Fargo will all the documents required by Wells Fargo within
 3
     the timeframe specified by Wells Fargo. Mr. and Mrs. Medina faxed the application
 4

 5   more than nine (9) days (and seven (7) business days) before the May 10, 2018 sale
 6
     date set for her home
 7
            76.    Around this same time, Mrs. Medina contacted CalHFA to see
 8

 9   if Mr. and Mrs. Medina would qualify for another government assisted loan to pay
10
     their arrears. CalHFA informed Mrs. Medina over the telephone that they qualified
11
     for a loan through the Keep Your Home, California Program, and started the process
12

13   of preparing the paperwork for the loan.
14
            77.    In a letter dated May 4, 2018, Amy Wachter, Senior Vice President of
15
     Wells Fargo Home Lending, acknowledged receipt of Mr. and Mrs. Medina’s
16

17   application, and stated that it is Wells Fargo’s “goal to complete the necessary
18
     research and provide [Mr. and Mrs. Medina] with a response by May 17, 2018,”
19
     seven days after the date set for the sale of Mr. and Mrs. Medina’s home. The letter
20

21   failed to designate a single point of contact for Mr. and Mrs. Medina to contact
22
     regarding the review of their application.
23
            78.     Mrs. Medina telephoned Wells Fargo and pleaded for the sale date to
24

25   be postponed while her and her husband’s application was under review. Mrs.
26
     Medina also informed Wells Fargo that she had qualified for a loan through CalHFA
27

28
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 1   to re-pay her arrears. Mrs. Medina informed Wells Fargo that they needed just a few
 2   weeks for the paperwork on the CalHFA loan to be processed and finalized.
 3
            79.    However, Wells Fargo refused to postpone the sale date to allow
 4

 5   for Mr. and Mrs. Medina to obtain the documents and finalize the loan through
 6
     CalHFA. Further, even though Wells Fargo was in receipt of and was still
 7
     reviewing a complete application, Wells Fargo continued to foreclose on Mr.
 8

 9   and Mrs. Medina’s home and refused to postpone the sale date even while their
10
     complete application was still under review.
11
            80.    On or about May 10, 2018, despite Mr. and Mrs. Medina’s
12

13   application still being under review, Mr. and Mrs. Medina’s home was sold and
14
     purchased at auction.
15
            81.    In a letter dated May 17, 2018, seven days after their home was sold,
16

17   Mr. and Mrs. Medina received a letter from Brayden Murray, Executive Resolution
18
     Specialist for Customer Care and Recovery Group at Wells Fargo stating that “[w]e
19
     now expect to complete our work by June 1, 2018” and had not yet made a final
20

21   determination on her loss mitigation application. The letter stated that Brayden
22
     Murray could be reached directly.
23
            82.     In a letter dated June 18, 2018, more than a month after their house was
24

25   sold at auction, Mr. and Mrs. Medina received a letter from a different employee,
26
     Timothy Bolten, Executive Resolution Specialist for Customer Care and Recovery
27

28
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 1   Group at Wells Fargo, stating that “[w]e now expect to complete our work by June
 2   29, 2018” and had not yet made a final determination on her loss mitigation
 3
     application. The letter stated that Timothy Bolten could be reached directly. On that
 4

 5   same day, on June 18, 2019, an unlawful detainer was filed to evict Mr. and Mrs.
 6
     Medina from their family home.
 7
            83.    A month and half after the date Wells Fargo told Mr. and Mrs. Medina
 8

 9   they would respond to her application, and almost two (2) months after her home
10
     was sold at auction, Mr. and Mrs. Medina received a letter dated June 29, 2018 from
11
     Brayden Murray, Executive Resolution Specialist for Customer Care and Recovery
12

13   Group, regarding request for foreclosure postponement. Mr. Murray stated that he
14
     had reviewed the new request for assistance based on new monthly income of
15
     $5,659.00, but that the increase in income was “still not large enough change to
16

17   consider a new review, thus unable to postpone foreclosure sale date.” Further, Mr.
18
     Murray stated that “we did not receive notice of approval from the Keep Your Home
19
     California Program.” Mr. Murray’s letter suggests that Wells Fargo expected the
20

21   Keep You Home California Program to provide documents approving a mortgage
22
     loan after the property had been already foreclosed and sold, even though Wells
23
     Fargo’s refusal to postpone the sale date by as little as a few weeks would have
24

25   allowed the time necessary for Mr. and Mrs. Medina to obtain the necessary
26

27

28
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 1   documentation from CalHFA, and was the sole reason for Mr. and Mrs. Medina’s
 2   inability to obtain the documentation from CalHFA.
 3
            84.      Mr. and Mrs. Medina have suffered extreme emotional distress and
 4

 5   mental anguish as a direct result of her experience with Wells Fargo. Wells Fargo’s
 6
     actions in aggressively pursuing foreclosure while Mr. and Mrs. Medina’s loss
 7
     mitigation application was under review caused Mr. and Mrs. Medina to suffer severe
 8

 9   anxiety, emotional distress and mental anguish. Mrs. Medina had a nervous and
10
     mental breakdown and was hospitalized as a direct result of her experience with
11
     Wells Fargo. Wells Fargo’s actions have also caused Mr. and Mrs. Medina to suffer
12

13   the irreparable harm of losing their home, a home that they can never get back. Due
14
     to Wells Fargo’s actions, Mr. and Mrs. Medina has also incurred attorneys fees and
15
     costs to bring this lawsuit.
16

17                   B.   Request for Information (“RFI”) #1
18
            85.      On or about September 28, 2018, Mr. and Mrs. Medina, through their
19
     counsel, sent to Wells Fargo a Request for Information letter (“RFI #1”) pursuant to
20

21   12 C.F.R. § 1024.36 by certified mail to the address designated by Wells Fargo on
22
     its website for the receipt of Request for Information letters, that address being: P.O.
23
     Box 10335, Des Moines, IA 50306-0335. RFI #1 requested information related to
24

25   the servicing of Mr. and Mrs. Medina’s mortgage loan and their loss mitigation
26
     applications.
27

28
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 1          86.    RFI #1 was delivered to Wells Fargo on or about October 4, 2018.
 2          87.    In a letter dated October 4, 2018, Wells Fargo acknowledged it had
 3
     received RFI #1.
 4

 5          88.     In a letter dated October 19, 2018, Wells Fargo stated that a response
 6
     will be provided to RFI #1 by November 2, 2018.
 7
            89.     In a letter dated November 2, 2018, Wells Fargo stated that it sent its
 8

 9   response to RFI #1 directly to Mr. and Mrs. Medina. However, Mr. and Mrs. Medina
10
     did not receive a response dated on or about November 2, 2018.
11
            90.    In a letter dated January 7, 2018, over three-and-a-half months after
12

13   receiving RFI #1, Wells Fargo provided a response to RFI #1. However, the
14
     response did not provide any of the information requested. The response also
15
     did not include a statement that Wells Fargo had conducted a reasonable search for
16

17   the requested information, nor a written notification that Wells Fargo had determined
18
     that the requested information was not available.
19
                   C.     Request for Information (“RFI”) #2
20

21          91.     On or about December 10, 2018, Mr. and Mrs. Medina, through their
22
     counsel, sent to Wells Fargo a Request for Information letter (“RFI #2”) pursuant to
23
     12 C.F.R. § 1024.36 by certified mail to the address designated by Wells Fargo on
24

25   its website for the receipt of Request for Information letters, that address being: P.O.
26

27

28
                                                  29      Medina v. Wells Fargo Bank, N.A., et al.
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 1   Box 10335, Des Moines, IA 50306-0335. RFI #1 requested information related to
 2   the servicing of Mr. and Mrs. Medina’s mortgage loan.
 3
            92.     RFI #2 was delivered to Wells Fargo on or about December 17, 2018.
 4

 5          93.     In a letter dated December 18, 2018, Wells Fargo acknowledged it
 6
     had received RFI #2.
 7
            94.      In a letter dated January 2, 2019, Wells Fargo stated that a response
 8

 9   will be provided to RFI #2 by January 16, 2019.
10
            95.     To this date, neither Mr. and Mrs. Medina, nor their counsel, have
11
     received a response to RFI #2.
12

13                 D.     Notice of Error (“NOE”) #1
14
            96.     On or about January 28, 2019, Mr. and Mrs. Medina, through their
15
     counsel, sent to Wells Fargo a Notice of Error letter (“NOE #1”) pursuant to 12
16

17   C.F.R. § 1024.36 by certified mail to the address designated by Wells Fargo on its
18
     website for the receipt of Request for Information letters, that address being: P.O.
19
     Box 10335, Des Moines, IA 50306-0335. NOE #1 related to the servicing of Mr.
20

21   and Mrs. Medina’s mortgage loan and Wells Fargo’s failure to respond to RFI #1
22
     and RFI #2.
23
            97.    NOE #1 was delivered to Wells Fargo on or about January 30, 2019.
24

25          98.    In a letter dated January 30, 2019, Wells Fargo stated that they had
26

27

28
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 1   received NOE #1 on January 30, 2019 and would provide a response by February 13,
 2   2019.
 3
             99.    In a letter dated February 4, 2019, Wells Fargo provided a response to
 4

 5   NOE #1. However, the response did not correct most of the errors identified in NOE
 6
     #1 with written notification of the correction, and the effective date of the correction,
 7
     nor include a statement that Wells Fargo had determined that no error occurred, a
 8

 9   statement of the reason or reasons for this determination, and a statement of the Mr.
10
     and Mrs. Medina’s right to request documents relied upon by Wells Fargo in reaching
11
     its determination, with information regarding how Mr. and Mrs. Medina can request
12

13   such documents.
14
                                   IX. CAUSES OF ACTION
15
                                 FIRST CAUSE OF ACTION
16
                                    12 C.F.R. § 1024.36(d)
17                                 (Against all Defendants)
                             (Failure to timely respond to RFI #1)
18
             100.      Mr. and Mrs. Medina re-allege each and every allegation above, as
19

20   if fully set forth in this Cause of Action.
21
             101.      12 C.F.R. § 1024.36(a) provides that “[a] servicer shall comply with
22
     the requirements of this section for any written request for information from a
23

24   borrower that includes the name of the borrower, information that enables the
25
     servicer to identify the borrower's mortgage loan account, and states the information
26
     the borrower is requesting with respect to the borrower's mortgage loan.”
27

28
                                                  31      Medina v. Wells Fargo Bank, N.A., et al.
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 1          102.       Comment 1 of the CFPB’s Official Interpretations of 12 C.F.R. §
 2   1024.36(a) provides that “[a]n information request is submitted by a borrower if the
 3
     information request is submitted by an agent of borrower.”
 4

 5          103.       12 C.F.R. § 1024.36(d)(1) provides that a servicer must respond to
 6
     a request for information by either “[p]roviding the borrower with the requested
 7
     information and contact information, including a telephone number, for further
 8

 9   assistance in writing” or “[c]onducting a reasonable search for the requested
10
     information and providing the borrower with a written notification that states that the
11
     servicer has determined that the requested information is not available to the servicer,
12

13   provides the basis for the servicer’s determination, and provides contact information,
14
     including a telephone number, for further assistance.”
15
            104.       12 C.F.R. § 1024.36(c) provides that: “Within five days (excluding
16

17   legal public holidays, Saturdays, and Sundays) of a servicer receiving an information
18
     request from a borrower, the servicer shall provide to the borrower a written response
19
     acknowledging receipt of the information request.
20

21          105. Furthermore, 12 C.F.R. § 1024.36(d)(2)(i) provides that:
22
                   A servicer must comply with the requirements of paragraph
23                 (d)(1) of this section:
24
                   (A) Not later than 10 days (excluding legal public holidays,
25                 Saturdays, and Sundays) after the servicer receives an
26
                   information request for the identity of, and address or other
                   relevant contact information for, the owner or assignee of a
27                 mortgage loan; and
28
                                                  32      Medina v. Wells Fargo Bank, N.A., et al.
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 1
                   (B) For all other requests for information, not later than 30 days
 2                 (excluding legal public holidays, Saturdays, and Sundays) after
 3                 the servicer receives the information request.
 4

 5          106. Based on the allegations above, supra, RFI #1 sent on September 28,
 6
     2018 constituted a request for information pursuant to 12 C.F.R. 1024.36(d)(2)(i)(B).
 7
            107.    RFI #1 was related to Wells Fargo’s servicing of the Medina’s Loan as
 8

 9   information regarding loss mitigation is within the definition of servicing as defined
10
     by RESPA. See 12 U.S.C. § 2605 generally; see also McClain v. CitiMortgage, Inc.,
11
     2016 WL 269568 (NDIL 2016); see also Yepez v. Specialized Loan Servicing, LLC,
12

13   Case No. 18-cv-07422, Memorandum Opinion and Order, (NDIL June 27, 2019, J.
14
     Leinenweber); see also Catalan v. GMAC Mortg. Corp, 629 F. 3d 676 (7th Cir. 2011).
15
            108. RFI #1 was delivered to the address designated by Wells Fargo as the
16

17   address to receive requests for information on October 4, 2018.
18
            109. Pursuant to 12 C.F.R. § 1024.36(d)(2)(i), Defendant Wells Fargo was
19
     required to respond and provide the information requested within thirty (30) business
20

21   days of receipt on October 4, 2018, by on or about Thursday, November 15, 2018.
22
            110. Defendant Wells Fargo did not provide a response to Mr. and Mrs.
23
     Medina’s RFI #1 until January 7, 2019, almost two months after the date that Wells
24

25   Fargo’s response was due.
26
            111. Defendant’s actions in failing to provide a written response to
27

28
                                                  33      Medina v. Wells Fargo Bank, N.A., et al.
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                                      FIRST AMENDED COMPLAINT
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 1   RFI #1 within thirty (30) days in compliance with the requirements of 12 C.F.R. §
 2   1024.36(d)(2)(i), constitutes a willful violation of 12 C.F.R. § 1024.36(d)(2)(i).
 3
            112. Defendant’s actions are believed to be a pattern and practice of
 4

 5   behavior in conscious disregard for Mr. and Mrs. Medina’s rights.
 6
            113. Further, in its letter dated January 7, 2019, Wells Fargo failed to
 7
     provide Mr. and Mrs. Medina with any of the information requested as required
 8

 9   by 12 C.F.R. 1024.36(d)(1).
10
            114. The response did not include a statement that Wells Fargo had
11
     conducted a reasonable search for the requested information, nor a written
12

13   notification that Wells Fargo determined that the requested information was not
14
     available, as required by 12 C.F.R. 1024.36(d)(1).
15
            115. Defendant’s actions in failing to provide the information requested in
16

17   RFI #1 in compliance with the requirements of 12 C.F.R. § 1024.36(d)(1), constitutes
18
     a willful violation of 12 C.F.R. § 1024.36(d)(1).
19
            116. Defendant’s actions are believed to be a pattern and practice of
20

21   behavior in conscious disregard for Mr. and Mrs. Medina’s rights.
22
            117. As a result of Defendant Wells Fargo’s actions, Defendant
23
     Wells Fargo is liable to Mr. and Mrs. Medina for actual damages, as described, supra,
24

25   as well as for statutory damages per each violation of RESPA based on each
26

27

28
                                                  34      Medina v. Wells Fargo Bank, N.A., et al.
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                                      FIRST AMENDED COMPLAINT
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 1   Defendant’s pattern and practice of noncompliance with the requirements of this
 2   section, costs, and attorneys’ fees related to the prosecution of this action.
 3

 4                              SECOND CAUSE OF ACTION
                                     12 C.F.R. § 1024.36(d)
 5                                  (Against all Defendants)
 6                               (Failure to respond to RFI #2)
 7          118. Mr. and Mrs. Medina re-allege each and every allegation above, as if
 8
     fully set forth in this Cause of Action.
 9
            119. 12 C.F.R. § 1024.36(a) provides that “[a] servicer shall comply with
10

11   the requirements of this section for any written request for information from a
12
     borrower that includes the name of the borrower, information that enables the
13
     servicer to identify the borrower's mortgage loan account, and states the information
14

15   the borrower is requesting with respect to the borrower's mortgage loan.”
16
            120. Comment 1 of the CFPB’s Official Interpretations of 12 C.F.R. §
17
     1024.36(a) provides that “[a]n information request is submitted by a borrower if the
18

19   information request is submitted by an agent of borrower.”
20
            121. 12 C.F.R. § 1024.36(d)(1) provides that a servicer must respond to
21
     a request for information by either “[p]roviding the borrower with the requested
22

23   information and contact information, including a telephone number, for further
24
     assistance in writing” or “[c]onducting a reasonable search for the requested
25
     information and providing the borrower with a written notification that states that the
26

27   servicer has determined that the requested information is not available to the servicer,
28
                                                  35      Medina v. Wells Fargo Bank, N.A., et al.
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 1   provides the basis for the servicer’s determination, and provides contact information,
 2   including a telephone number, for further assistance.”
 3
             122. 12 C.F.R. § 1024.36(c) provides that: “Within five days (excluding
 4

 5   legal public holidays, Saturdays, and Sundays) of a servicer receiving an information
 6
     request from a borrower, the servicer shall provide to the borrower a written response
 7
     acknowledging receipt of the information request.
 8

 9           123. Furthermore, 12 C.F.R. § 1024.36(d)(2)(i) provides that:
10
                    A servicer must comply with the requirements of paragraph
11                  (d)(1) of this section:
12
                    (A) Not later than 10 days (excluding legal public holidays,
13                  Saturdays, and Sundays) after the servicer receives an
                    information request for the identity of, and address or other
14
                    relevant contact information for, the owner or assignee of a
15                  mortgage loan; and
16
                    (B) For all other requests for information, not later than 30 days
17                  (excluding legal public holidays, Saturdays, and Sundays) after
                    the servicer receives the information request.
18

19
             124. Based on the allegations above, supra, RFI #2 sent on December 10,
20

21   2018,    constituted    a    request    for   information     pursuant     to   12    C.F.R.
22
     1024.36(d)(2)(i)(B).
23
             125.   RFI #2 was related to Wells Fargo’s servicing of the Medina’s Loan as
24

25              information regarding loss mitigation is within the definition of servicing
26
                as defined by RESPA. See 12 U.S.C. § 2605 generally; see also McClain
27

28
                                                  36      Medina v. Wells Fargo Bank, N.A., et al.
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 1             v. CitiMortgage, Inc., 2016 WL 269568 (NDIL 2016); see also Yepez v.
 2             Specialized Loan Servicing, LLC, Case No. 18-cv-07422, Memorandum
 3
               Opinion and Order, (NDIL June 27, 2019, J. Leinenweber); see also
 4

 5             Catalan v. GMAC Mortg. Corp, 629 F. 3d 676 (7th Cir. 2011).
 6
            126. RFI #2 was delivered to the address designated by Wells Fargo as the
 7
     address to receive requests for information on December 17, 2018.
 8

 9          127. Pursuant to 12 C.F.R. § 1024.36(d)(1), Defendant Wells Fargo was
10
     required to respond and provide the information requested within thirty (30) business
11
     days of receipt on December 17, 2018, by on or about Wednesday, January 23, 2019.
12

13          128. In a letter dated January 2, 2019, Wells Fargo stated that a response will
14
     be provided by January 16, 2019.
15
            129. However, to this date, neither Mr. and Mrs. Medina nor their
16

17   counsel have received a response from Wells Fargo to RFI #2.
18
            130. Defendant’s actions in failing to respond to RFI #2 within thirty (30)
19
     days in compliance with the requirements of 12 C.F.R. § 1024.36(d)(2)(i), constitutes
20

21   a willful violation of 12 C.F.R. § 1024.36(d)(2)(i).
22
            131. Further, Wells Fargo has failed to conduct a reasonable search for the
23
     requested documents, as required by 12 C.F.R. § 1024.36(d)(1).
24

25          132. Defendant’s actions in failing to conduct a reasonable search for the
26

27

28
                                                  37      Medina v. Wells Fargo Bank, N.A., et al.
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                                      FIRST AMENDED COMPLAINT
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 1   requested documents in response to RFI #2 in compliance with the requirements of
 2   12 C.F.R. § 1024.36(d)(1), constitutes a willful violation of 12 C.F.R. §
 3
     1024.36(d)(1).
 4

 5          133. Defendant’s actions are believed to be a pattern and practice of
 6
     behavior in conscious disregard for Mr. and Mrs. Medina’s rights.
 7
            134. As a result of Defendant Wells Fargo’s actions, Defendant
 8

 9   Wells Fargo is liable to Mr. and Mrs. Medina for actual damages, as described, supra,
10
     as well as for statutory damages per each violation of RESPA based on each
11
     Defendant’s pattern and practice of noncompliance with the requirements of this
12

13   section, costs, and attorneys’ fees.
14
                                  THIRD CAUSE OF ACTION
15
                                    12 C.F.R. § 1024.35(e)(1)
16                                  (Against all Defendants)
                                 (Failure to respond to NOE #1)
17
            135.       Mr. and Mrs. Medina re-allege each and every allegation above, as
18

19   if fully set forth in this Cause of Action.
20
            136.       12 C.F.R. § 1024.35(a) provides “[a] servicer shall comply with
21
     the requirements of this section for any written notice from the borrower that asserts
22

23   an error and that includes the name of the borrower, information that enables the
24
     servicer to identify the borrower's mortgage loan account, and the error the borrower
25
     believes has occurred.”
26

27

28
                                                  38      Medina v. Wells Fargo Bank, N.A., et al.
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                                      FIRST AMENDED COMPLAINT
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 1          137.      12 C.F.R. § 1024.35(d) provides that a servicer must acknowledge
 2   in writing receiving a notice of error from a borrower within five days of receipt.
 3
            138.       12 C.F.R. § 1024.35(a) provides “[a] servicer shall comply with the
 4

 5   requirements of this section for any written notice from the borrower that asserts an
 6
     error and that includes the name of the borrower, information that enables the
 7
     servicer to identify the borrower's mortgage loan account, and the error the borrower
 8

 9   believes has occurred.”
10
            139. Comment 1 of the CFPB’s Official Interpretations of 12 C.F.R.
11
     §1024.35(a) provides that “[a] notice of error is submitted by a borrower if the notice
12

13   of error is submitted by an agent of the borrower.”
14
            140. 12 C.F.R. § 1024.35(e)(1) provides that a servicer must respond to a
15
     notice of error by either “[c]orrecting the error or errors identified by the borrower
16

17   and providing the borrower with a written notification of the correction, the effective
18
     date of the correction, and contact information, including a telephone number, for
19
     further assistance” or “[c]onducting a reasonable investigation and providing the
20

21   borrower with a written notification that includes a statement that the servicer has
22
     determined that no error occurred, a statement of the reason or reasons for this
23
     determination, a statement of the borrower's right to request documents relied upon
24

25   by the servicer in reaching its determination, information regarding how the borrower
26

27

28
                                                  39      Medina v. Wells Fargo Bank, N.A., et al.
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                                      FIRST AMENDED COMPLAINT
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 1   can request such documents, and contact information, including a telephone number,
 2   for further assistance.”
 3
             141.   12 C.F.R. § 1024.35(e)(3)(i) provides that “a servicer must comply
 4

 5   with the requirements of paragraph (e)(1) …not later than 30 days (excluding legal
 6
     public holidays, Saturdays, and Sundays) after the servicer receives the applicable
 7
     notice of error.”
 8

 9           142. 12 C.F.R. § 1024.35(b)(11) provides that it is an error under 12 C.F.R.
10
     § 1024.35 for a servicer to commit any error in the servicing of a borrower’s
11
     mortgage loan not specifically identified otherwise in 12 C.F.R. § 1024.35.
12

13           143. Based on the allegations above, supra, NOE #1 sent on January 28,
14
     2019, constituted a Notice of Error pursuant to 12 C.F.R. 1024.35(a).
15
             144. As alleged above, on January 28, 2019, Mr. and Mrs. Medina sent NOE
16

17   #1 to Wells Fargo to the address designated by Wells Fargo as the address to receive
18
     Notice of Errors letters, and NOE #1 was delivered to Wells Fargo on January 30,
19
     2019.
20

21           145.   NOE #1 notified Wells Fargo of specific errors that the Medinas
22
     believed to have occurred pursuant to 12 C.F.R. § 1024.35(b)(7) which encompasses
23
     errors related to “failure to provide accurate information to a borrower regarding loss
24

25   mitigation and foreclosure.” 12 C.F.R. § 1024.35(b)(7); see also 12 C.F.R. §
26
     1024.39(b)(iv).
27

28
                                                  40      Medina v. Wells Fargo Bank, N.A., et al.
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                                      FIRST AMENDED COMPLAINT
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 1          146. Pursuant to 12 C.F.R. § 1024.35(e), Defendant Wells Fargo was
 2   required to send a response to Mr. and Mrs. Medina, either correcting its error or
 3
     asserting that no error occurred and the reason for such determination, within thirty
 4

 5   (30) business days of receipt of the NOE #1.
 6
            147. As Defendant received NOE #1 on January 30, 2019, Defendant Wells
 7
     Fargo had until on or about Thursday, March 14, 2019 to provide a substantive
 8

 9   response to NOE #1
10
            148. In a letter dated February 4, 2019, Wells Fargo responded to NOE #1.
11
     However, Defendant’s response to NOE #1 on or about February 4, 2019 is
12

13   insufficient in that it neither corrects the errors addressed in NOE #1, nor provides
14
     a statement that Wells Fargo has determined no error has occurred with a statement
15
     of the reason or reasons for this determination.
16

17          149. Defendant’s actions in failing to respond to NOE #1 in compliance
18
     with the requirements of 12 C.F.R. § 1024.35(e)(1), constitutes a willful violation of
19
     12 C.F.R. § 1024.35(e)(1).
20

21          150. Defendant’s actions in failing to provide a sufficient response to NOE
22
     #1 constitutes a clear, distinct, and separate violation of 12 C.F.R. 1024.35(e)(1) for
23
     each insufficient response Wells Fargo has failed to send.
24

25          151. Defendant Wells Fargo’s actions are believed to be a pattern and
26
     practice of behavior in conscious disregard for Mr. and Mrs. Medina’s rights.
27

28
                                                  41      Medina v. Wells Fargo Bank, N.A., et al.
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 1          152. As a result of Defendant Wells Fargo’s actions, Defendant is liable to
 2   Mr. and Mrs. Medina for actual damages, as described, supra, as well as for statutory
 3
     damages per each violation of RESPA, based on Defendant’s pattern and practice of
 4

 5   noncompliance with the requirements of this section, costs, and attorneys’ fees
 6
     related to the preparation and review of NOE #1 and related to the prosecution of
 7
     this action.
 8

 9                             FOURTH CAUSE OF ACTION
10                           Homeowners Bill of Rights (“HBOR”)
                              California Civil Code § 2920, et seq.
11                                  (Against all Defendants)
12
            153.     Mr. and Mrs. Medina re-allege each and every allegation above, as if
13

14   fully set forth in this Cause of Action.
15          154.        The Homeowners Bill of Rights (“HBOR”) prohibits a mortgage
16
     servicer, mortgagee, trustee, beneficiary or authorized agent from recording a notice
17

18   of default, notice of trustee sale, or conducting a trustee’s sale while a borrower’s
19
     complete first lien loss mitigation application for a foreclosure prevention
20
     alternative, such as for a first lien loan modification (“application”) is pending. Cal.
21

22   Civ. Code § 2923.6(c). Further, HBOR provides that a borrower shall have thirty
23
     (30) days to appeal the denial of an application. Cal. Civ. Code § 2923.6(d).
24
            155.       Pursuant to Cal. Civ. Code § 2923.6, if a borrower submits a
25

26   complete application for a first lien loan modification at least five (5) business days
27
     before a scheduled foreclosure sale, a lender or servicer cannot record a notice of
28
                                                  42      Medina v. Wells Fargo Bank, N.A., et al.
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                                      FIRST AMENDED COMPLAINT
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 1   sale or conduct a trustee’s sale while the application is pending. Cal. Civ. Code §
 2   2923.6(c) states:
 3

 4

 5                 “(c) If a borrower submits a complete application for a first lien
                   loan modification offered by, or through, the borrower’s
 6
                   mortgage servicer at least five business days before a scheduled
 7                 foreclosure sale, a mortgage servicer, mortgagee, trustee,
                   beneficiary, or authorized agent shall not record a notice of
 8
                   default or notice of sale, or conduct a trustee’s sale, while the
 9                 complete first lien loan modification application is pending. A
                   mortgage servicer, mortgagee, trustee, beneficiary, or authorized
10
                   agent shall not record a notice of default or notice of sale or
11                 conduct a trustee’s sale until any of the following occurs:
                   (1) The mortgage servicer makes a written determination that the
12
                   borrower is not eligible for a first lien loan modification, and any
13                 appeal period pursuant to subdivision (d) has expired.
                   (2) The borrower does not accept an offered first lien loan
14
                   modification within 14 days of the offer.
15                 (3) The borrower accepts a written first lien loan modification,
                   but defaults on, or otherwise breaches the borrower’s obligations
16
                   under, the first lien loan modification.”
17

18
            156. Pursuant to Cal. Civ. Code § 2923.6(h), an application is considered
19
     complete when the borrower submits all documents required by the lender or
20

21   servicer, within a reasonable time frame. Cal. Civ. Code § 2923.6(h) states: ”For
22
     purposes of this section, an application shall be deemed “complete” when a borrower
23
     has supplied the mortgage servicer with all documents required by the mortgage
24

25   servicer within the reasonable timeframes specified by the mortgage servicer.”
26
            157.         Pursuant to Cal. Civ. Code § 2924.12, if a servicer violates Cal. Civ.
27

28
                                                  43      Medina v. Wells Fargo Bank, N.A., et al.
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 1   Code § 2923.6, the homeowner can enforce a private right of action. If the servicer
 2   conducts a foreclosure sale of the home and records a trustee’s deed upon sale, the
 3
     homeowner can ask for a statutory fee of $50,000.00, attorney’s fees and actual
 4

 5   damages. Cal. Civ. Code § 2924.12(b) states:
 6

 7
                   “(b) After a trustee’s deed upon sale has been recorded, a
 8
                   mortgage servicer, mortgagee, trustee, beneficiary, or authorized
 9                 agent shall be liable to a borrower for actual economic damages
                   pursuant to Section 3281, resulting from a material violation of
10
                   Section 2923.55, 2923.6, 2923.7, 2924.9, 2924.10, 2924.11, or
11                 2924.17 by that mortgage servicer, mortgagee, trustee,
                   beneficiary, or authorized agent where the violation was not
12
                   corrected and remedied prior to the recordation of the trustee’s
13                 deed upon sale. If the court finds that the material violation was
                   intentional or reckless, or resulted from willful misconduct by a
14
                   mortgage servicer, mortgagee, trustee, beneficiary, or authorized
15                 agent, the court may award the borrower the greater of treble
                   actual damages or statutory damages of fifty thousand dollars
16
                   ($50,000).”
17

18
            158. As alleged above, Mr. and Mrs. Medina were told by Wells Fargo to
19
     submit an application for a first lien loan modification when Mr. Medina received
20

21   two months of paystubs. Thus, Mr. and Mrs. Medina submitted an application within
22
     the time frame specified by Wells Fargo. In accordance with the instructions from
23
     Wells Fargo, Mr. and Mrs. Medina submitted a complete application to Wells Fargo
24

25   on or about May 1, 2018, nine (9) days and seven (7) business days before the sale
26
     date of Mr. and Mrs. Medina’s home on May 10, 2018. On May 1, 2018, Mr. and
27

28
                                                  44      Medina v. Wells Fargo Bank, N.A., et al.
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 1   Mrs. Medina faxed the complete application and all documents required by Wells
 2   Fargo directly to Andrew De Leon, in Home Preservation at Wells Fargo. Thus,
 3
     Wells Fargo received a complete application on or about May 1, 2018, seven (7)
 4

 5   business days before the sale on May 10, 2018.
 6
            159.      Mr. and Mrs. Medina supplied Well Fargo with all the documents
 7
     required by Wells Fargo by May 1, 2018 within the timeframe specified by Wells
 8

 9   Fargo since Wells Fargo instructed Mr. and Mrs. Medina to wait two (2) months
10
     before submitting an application.
11
            160.       In a letter dated May 4, 2018, Wells Fargo acknowledged it had
12

13   received a complete application and that the application was under review.
14
            161.       However, Wells Fargo conducted a sale of Mr. and Mrs. Medina’s
15
     home on May 10, 2018 while Mr. and Mrs. Medina’s complete application was
16

17   pending review, and before making a final written determination on Mr. and Mrs.
18
     Medina’s complete application.
19
            162.       Wells Fargo violated Cal. Civ. Code § 2923.6(c) when it conducted
20

21   a foreclosure sale of Mr. and Mrs. Medina’s home while Wells Fargo was in receipt
22
     of a complete first lien loan modification application that was still pending review,
23
     and prior to a final determination on the application. Wells Fargo further violated
24

25   Cal. Civ. Code § 2923.6(c) when it recorded a trustee’s deed upon sale while a
26
     complete application was in receipt by Wells Fargo and still pending review. Wells
27

28
                                                  45      Medina v. Wells Fargo Bank, N.A., et al.
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                                      FIRST AMENDED COMPLAINT
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 1   Fargo further violated Cal. Civ. Code § 2923.6(d) by recording a trustee’s deed upon
 2   sale without first providing Mr. and Mrs. Medina thirty (30) days to appeal a denial.
 3
            163.       Wells Fargo’s violations of Cal. Civ. Code §§ 2923.6(c) and (d) as
 4

 5   alleged herein were material violations of Cal. Civ. Code § 2923.6, and were
 6
     intentional, reckless and/or willful.
 7
            164.       As a direct and proximate result of the aforementioned violations,
 8

 9   Mr. and Mrs. Medina were harmed in that they suffered the loss of their home, the
10
     loss of home equity, relocation costs, loss of opportunity to pursue other strategies
11
     to avoid foreclosure, damage to financial reputation, and the financial, credit, and
12

13   emotional toll of defending against a foreclosure. Mrs. Medina also suffered severe
14
     emotional distress and mental anguish and was hospitalized for a nervous breakdown
15
     that she suffered as a direct result of Wells Fargo’s unlawful actions in conducting a
16

17   foreclosure sale on her home while her application was under review, and without
18
     providing Mr. and Mrs. Medina the right to appeal the decision to deny their
19
     modification prior to conducting the foreclosure sale.
20

21
                                 FIFTH CAUSE OF ACTION
22                                          “UCL”
                            Cal. Bus. and Prof. Code § 17200 et seq.
23
                                   (Against all Defendants)
24
            165.      Mr. and Mrs. Medina re-allege each and every allegation above, as
25

26   if fully set forth in this Cause of Action.
27
            166.        Wells Fargo’s unlawful, unfair, fraudulent and/or deceptive
28
                                                  46      Medina v. Wells Fargo Bank, N.A., et al.
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 1   business acts and/or practices violated California’s Unfair Competition Law, Cal.
 2   Bus. and Prof. Code § 17200 et seq. (the “UCL”), which prohibits unlawful unfair,
 3
     and/or fraudulent business acts and/or practices.
 4

 5          167.        Mr. and Mrs. Medina submitted a complete loss mitigation
 6
     application to Wells Fargo on or about May 1, 2018, more than nine (9) days before
 7
     the scheduled date of the foreclosure sale of their home. However, while the
 8

 9   complete loss mitigation application for a first lien loan was pending, and prior to
10
     Wells Fargo making a final determination on their application, Wells Fargo
11
     conducted a foreclosure sale, sold Mr. and Mrs. Medina’s home and recorded a
12

13   Trustee’s Deed Upon Sale, in direct violation of HBOR, Cal. Civil Code § 2924.11.
14
            168.        By engaging in the above-described acts and practices, Wells
15
     Fargo has committed one or more acts of unfair competition within the meaning of
16

17   the UCL.
18
            169.    As a result of Wells Fargo’s violations of the HBOR as alleged
19
     herein, Mr. and Mrs. Medina have suffered injury and lost money and property,
20

21   including but not limited to, the loss of her home through Wells Fargo’s unfair and
22
     unlawful business practices resulting in the loss of home equity and the costs and
23
     expenses incurred to fight against the wrongful foreclosure, subsequent eviction,
24

25   and relocation costs.
26
            170.      Unlawful: The unlawful acts and practices of Wells Fargo alleged
27

28
                                                  47      Medina v. Wells Fargo Bank, N.A., et al.
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 1   above constitute unlawful business acts and/or practices within the meaning of the
 2   UCL. Wells Fargo’s unlawful business act and/or practices as alleged herein have
 3
     violated numerous laws, including state and federal statutory laws, and/or common
 4

 5   law – and said predicate acts are therefore per se violations of the UCL. These
 6
     predicate unlawful business acts and/or practices include, but are not limited to,
 7
     violations of the Cal. Civil Code § 2924.11 (Ban on Dual-Tracking while loss
 8

 9   mitigation applications are pending),
10
            171.      Unfair: Wells Fargo’s violations of the HBOR as alleged herein
11
     constitute willful, intentional, reckless, negligent and other tortious conduct and
12

13   gave Wells Fargo an unfair competitive advantage over their competitors who did
14
     not engage in such practices. Such misconduct, as alleged herein, also violated
15
     established law and/or public policies which were enacted on January 1, 2013 to
16

17   bring fairness, accountability and transparency to the State’s mortgage and
18
     foreclosure process and to ensure that as part of California’s non-judicial
19
     foreclosure process, borrowers are considered for, and have a meaningful
20

21   opportunity to obtain, available loss mitigation options, if any, offered by or
22
     through the borrower’s mortgage servicer, such as loan modification or other
23
     alternatives to foreclosure. Dual-tracking homeowners, such as Mr. and Mrs.
24

25   Medina, while a complete loss mitigation application is pending was and is directly
26
     contrary to established legislative goals and policies to promote fairness,
27

28
                                                  48      Medina v. Wells Fargo Bank, N.A., et al.
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 1   accountability and transparency to the State’s mortgage and foreclosure process,
 2   and thus Wells Fargo’s acts and/or practices alleged herein were and are unfair
 3
     within the meaning of the UCL.
 4

 5          172. The harm to Mr. and Mrs. Medina outweighs the utility, if any, of
 6
     Wells Fargo’s acts and/or practices as alleged herein. Thus, Wells Fargo’s
 7
     deceptive dual tracking business acts and/or practices were unfair within the
 8

 9   meaning of the UCL.
10
            173. As alleged herein, Wells Fargo’s business acts and practices offend
11
     established public policies, including public policies against willful or reckless
12

13   ignorance of state statutes, and frustrating economic recovery and relief for
14
     distressed California homeowners. These practices are and were immoral,
15
     unethical, oppressive, unscrupulous or substantially injurious to consumers such as
16

17   Mr. and Mrs. Medina and thus unfair within the meaning of the UCL.
18
            174. At all times relevant, Wells Fargo’s misconduct as alleged herein
19
     caused: 1) substantial injury to Mr. and Mrs. Medina; 2) had no countervailing
20

21   benefit to consumers or to competition that could possibly outweigh these
22
     substantial injuries; and 3) caused injury that could not have been avoided or even
23
     discovered by ordinary consumers because it resulted from Wells Fargo’s failure to
24

25   prevent dual-tracking which Wells Fargo could have easily prevented. Thus Wells
26
     Fargo’s acts and/or practices as alleged herein were and are unfair within the
27

28
                                                  49      Medina v. Wells Fargo Bank, N.A., et al.
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 1   meaning of the UCL.
 2          175.      Fraudulent: Wells Fargo’s acts and/or practices, as alleged herein,
 3
     were likely to deceive, and did deceive, Mr. and Mrs. Medina. Mr. and Mrs.
 4

 5   Medina were led to believe that their loss mitigation application would be reviewed
 6
     and that their home would not be foreclosed on while their application was under
 7
     review. Further, Mr. and Mrs. Medina were led to believe that if they increased
 8

 9   their monthly income to around $5,500.00, that Wells Fargo would qualify them for
10
     a loss mitigation option that enabled them to keep her home. However, Wells
11
     Fargo sold Mr. and Mrs. Medina’s home while a complete loss mitigation
12

13   application was under review; further, Wells Fargo fraudulently informed Mr. and
14
     Mrs. Medina that they did not qualify for a temporary or permanent loan
15
     modification when in fact their monthly income of around $5,500.00 met the
16

17   qualifications that Wells Fargo had stated would qualify them for such a program.
18
     The regular and systematic acts and/or practices of dual-tracking constitutes
19
     fraudulent business acts and/or practices within the meaning of the UCL.
20

21          176. The unlawful, unfair and fraudulent business acts and/or practices of
22
     Wells Fargo, as fully described herein present a continuing threat to members of
23
     the public to be misled and/or deceived by Wells Fargo. Mr. and Mrs. Medina
24

25   have no other remedy of law that will prevent Wells Fargo’s misconduct from
26
     occurring and/or reoccurring in the future.
27

28
                                                  50      Medina v. Wells Fargo Bank, N.A., et al.
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 1          177. As a direct and proximate result of Wells Fargo’s unlawful, unfair and
 2   fraudulent conduct, as alleged herein, Mr. and Mrs. Medina have suffered the
 3
     irreparable loss of their home and equity, have had to expend monies for relocation
 4

 5   costs, as well as the costs to bring this action. Mr. and Mrs. Medina are direct
 6
     victims of Wells Fargo’s unlawful, unfair and fraudulent conduct, and Mr. and Mrs.
 7
     Medina have suffered injury in fact, and has lost money and/or property as a result
 8

 9   of Wells Fargo’s unfair competition.
10
            178. Mr. and Mrs. Medina are entitled to equitable relief, including
11
     restitution, attorney’s fees and costs, declaratory relief, and a permanent injunction
12

13   enjoining Wells Fargo from engaging in the wrongful activity alleged herein.
14
                                  SIXTH CAUSE OF ACTION
15                                          Negligence
                                   California Civil Code § 1714
16
                                    (Against all Defendants)
17
            179.       Mr. and Mrs. Medina reallege each and every allegation above as
18

19   if fully set forth in this Cause of Action.
20
            180.       Defendants owed a duty of care under California Civil Code §
21
     1714 to Mr. and Mrs. Medina because Defendants voluntarily undertook to offer a
22

23   loss mitigation alternative Mr. and Mrs. Medina and offered Mr. and Mrs. Medina a
24
     loss mitigation application.
25

26
            181.       Defendants breached their duty to Mr. and Mrs. Medina by failing

27   to review their complete loss mitigation application before moving forward with
28
                                                  51      Medina v. Wells Fargo Bank, N.A., et al.
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 1   the foreclosure sale of their home.
 2          182.       Defendants breached their duty to Mr. and Mrs. Medina by failing
 3
     to exercise reasonable care when they continued with the foreclosure sale of Mr.
 4

 5   and Mrs. Medina’s home before making a final determination on Mr. and Mrs.
 6
     Medina’s loss mitigation application.
 7
            183.       As a direct and proximate result of Defendant’s negligence,
 8

 9   Defendant caused damage to Mr. and Mrs. Medina including, but not limited to,
10
     having to retain counsel to send and review NOE #1, the opportunity to be
11
     reviewed for eligibility of a loan modification timely before the irreparable loss of
12

13   their home, the opportunity to be reviewed for eligibility of a loan modification
14
     timely which Wells Fargo offered as an opportunity for the Plaintiffs to cure any
15
     existing contractual defaults on the loan, the loss of equity in their home, and
16

17   severe emotional distress and anguish.
18
            184.       Pursuant to California Civil Code section 3333 Mr. and Mrs.
19
     Medina are entitled to damages in the amount that will compensate for all the
20

21   detriment proximately caused by Defendant. Since Defendant acted recklessly,
22
     with oppression, and/or malice Mr. and Mrs. Medina are entitled to punitive
23
     damages in an amount to be determined at trial, pursuant to California Civil Code
24

25   section 3294.
26
                                   X. PRAYER FOR RELIEF
27

28
                                                  52      Medina v. Wells Fargo Bank, N.A., et al.
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 1          WHEREFORE, Mr. and Mrs. Medina pray for judgment against Defendants
 2   as follows:
 3
            1.     For judgment in favor of Mr. and Mrs. Medina and against Defendants
 4

 5   on all claims;
 6
            2.     For actual damages according to proof, but not less than $25,000.00;
 7
            3.     For $2,000.00 in statutory damages per violation under 12 U.S.C. §
 8

 9   2605(f), for violations of the RESPA and Regulation X;
10
            4.     For $50,000.00 in statutory damages and actual damages pursuant to
11
     Cal. Civ. Code § 2924.12(b);
12

13          5.     For an award to Mr. and Mrs. Medina for actual, compensatory and
14
     punitive damages for Defendants’ negligence;
15
            6.     For declaratory and injunctive relief to prevent Wells Fargo from
16

17   engaging in dual-tracking practices;
18
            7.     For any award to Mr. and Mrs. Medina for the costs of this action,
19
     including the fees and costs of experts, together with reasonable attorney’s fees,
20

21   costs and expenses;
22
            8.     In the event of default, for an award of actual damages against
23
     each Defendant jointly and severally, as applicable, in an amount of at least
24

25   $100,000.00 for all of the allegations contained in each and every Cause of
26
     Action;
27

28
                                                  53      Medina v. Wells Fargo Bank, N.A., et al.
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 1          9.      For all other relief at law or in equity that Mr. and Mrs. Medina are
 2   entitled to by law that this Court deems just and proper.
 3
                              XI. DEMAND FOR JURY TRIAL
 4

 5          185. Pursuant to Federal Rule of Civil Procedure 38(b), Mr. and Mrs.
 6
     Medina hereby request a trial by jury as to each and every claim for which they are
 7
     so entitled.
 8

 9

10   Dated: July 22, 2019                LEXICON LAW, PC
11

12
                                                By: /s/ John R. Habashy____________
13                                              JOHN R. HABASHY
                                                LEXICON LAW, PC
14
                                                Attorney for Plaintiffs,
15                                              Alejandro Medina and Cinthya Medina
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                                                  54      Medina v. Wells Fargo Bank, N.A., et al.
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